                                                                                     Filed 2/8/2022 3:58 PM
     Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22            Page 1 of 24 PageID 11 Melanie Reed
                                                                                                District Clerk
                                                                                         Ellis County, Texas

                                          107690
                                    NO. _________________

WILLIAM STAMPER,                               §                  IN THE DISTRICT COURT
Plaintiff,                                     §
                                               §            40TH
V.                                             §                   ____ JUDICIAL DISTRICT
                                               §
WAL-MART STORES TEXAS, LLC                     §
d/b/a WALMART SUPERCENTER                      §
#286,                                          §
Defendant.                                     §                    ENNIS COUNTY, TEXAS

                           PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Plaintiff William Stamper complaining of and about Defendant Wal-

Mart Stores Texas, LLC d/b/a Walmart Supercenter #286 and for causes of action would show

unto the Court the following:

                    I.            DISCOVERY CONTROL PLAN LEVEL

        1. Plaintiff pleads that discovery in this matter shall be conducted under level II

discovery control plan pursuant to Texas Rules of Civil Procedure 190.3.

                            II.        PARTIES AND SERVICE

        2. Plaintiff William Stamper (“Plaintiff”) is an individual who is a resident of Ennis

County, Texas. The last three numbers of Plaintiff’s driver’s license and social security number

are 607 and 531, respectively.

        3. Defendant Wal-Mart Stores Texas, LLC d/b/a Walmart Supercenter #286

(“Defendant”) is a foreign corporation which at all times conducted business in the State of

Texas. Defendant’s corporate headquarters are located at 702 SW 8 th Street, Bentonville,

Arkansas 72716-8611. This lawsuit arises out of Defendant’s business done in this state.

Defendant may be served with process by serving its registered agent, C T Corporation System,




                                         EXHIBIT C
   Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                   Page 2 of 24 PageID 12



1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                            III.        JURISDICTION AND VENUE

         4. This Court has subject matter jurisdiction over this lawsuit. Plaintiff’s claims involve

Texas statutory and common law. The amount in controversy is within this Court’s jurisdictional

limit.

         5. This Court has personal jurisdiction over the parties. All the parties are either

individuals or corporate residents of the State of Texas, have sufficient minimum contacts with

the State of Texas, and/or have purposefully availed themselves of the laws and markets of the

State of Texas so as to not offend traditional notions of fair play and substantial justice.

         6. This Court is the proper venue to hear this lawsuit pursuant to Tex. Civ. Prac. &

Rem. Code §15.002(a)(1)-(3) because the events giving rise to this lawsuit occurred in Ennis

County, Texas.

                                        IV.          FACTS

         7. On or about March 3, 2020, Plaintiff was a customer at Walmart Supercenter #286

located at 700 E. Ennis Ave., Ennis, Texas 75118. At all times material hereto, Defendant is the

owners, possessors, operators, and/or managers of the premises located at 700 E. Ennis Ave.,

Ennis, Texas 75118.

         8. Plaintiff entered upon said premises as a customer. He entered on the said property

of Defendant as a patron and at the invitation of Defendant. While on the premises, Plaintiff used

a scooter provided by Defendant. After shopping and checking out, Plaintiff attempted to exit the

store through the gates located at the entry/exit way. The gate closed on him pinning him inside.

As a direct and proximate result of the incident, Plaintiff suffered personal injuries and resulting

damages.

__________________________________________________________
PLAINTIFF’S ORIGINAL PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 2 of 7
     Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22               Page 3 of 24 PageID 13



                                 V.         CAUSES OF ACTION

A.       NEGLIGENCE

         9. Plaintiff repleads the foregoing factual allegations as if here quoted verbatim and set

forth herein at length.

         10. Defendant owed duties of ordinary care to Plaintiff and other customers. The conduct

of Defendant’s agent, servant, and/or employee as outlined above breached those duties through

various acts and/or omissions, including the following, each of which singularly or in

combination with others, constitute acts of negligence that were a direct and proximate cause of

the occurrence in question and the resulting injuries or damages set forth herein:

            a. failing to properly maintain the gates located at the entry/exit way;

            b. failing to adequately warn of hazards; and

            c. other acts of negligence and negligence per se.

         11. As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

suffered personal injuries and resulting damages in an amount to be determined at trial.

B.       PREMISE LIABILITY

         12. Plaintiff repleads the foregoing factual allegations as if here quoted verbatim and set

forth herein at length

         13. Defendant owed a duty to Plaintiff to exercise ordinary care in its ownership,

possession, control, maintenance, operation, inspection, and use of Defendant’s premises to

reduce or eliminate the unreasonable risk of harm created by a condition of the Defendant’s

premises which Defendant knew about or in the exercise of ordinary care should have known

about.

         14. Defendant owed a duty to inspect and repair any defects and a duty to repair the

__________________________________________________________
PLAINTIFF’S ORIGINAL PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 3 of 7
     Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                  Page 4 of 24 PageID 14



defects adequately and competently.

        15. Defendant, acting through its agents, servants and/or employees, failed to use that

degree of care which an owner or occupier of ordinary prudence would have used under the same

or similar circumstances in the following particulars:

            a. failing to properly inspect the premises for defects;

            b. failing to properly maintain the property and structures thereupon;

            c. failing to adequately warn of hazards on the property;

            d. failing to properly make needed repairs;

            e. failing to make periodic inspections and repairs to common areas; and

            f. other acts of negligence and negligence per se.

        16. As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

suffered personal injuries and resulting damages in an amount to be determined at trial.

C.      RESPONDEAT SUPERIOR

        17. Plaintiff repleads the foregoing factual allegations as if herein quoted verbatim and

set forth herein at length.

        18. Under the doctrine of Respondeat Superior, Defendant is vicariously liable for the

negligence as alleged above by any agent, servant, and/or employee while acting within the

scope of employment which caused Plaintiff’s damages. Defendant is also vicariously liable for

the negligence as alleged above by any agent, servant, and/or employee while acting in the

furtherance of a mission for the benefit of Defendant and subject to control by Defendant as to

the details of the mission.




__________________________________________________________
PLAINTIFF’S ORIGINAL PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 4 of 7
   Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                   Page 5 of 24 PageID 15



                                        VI.         DAMAGES

        19. As a direct and proximate result of the incident making the basis of this lawsuit,

Plaintiff suffered and will in all reasonable probability continue to suffer the following actual

damages, the dollar value of which exceeds the minimal jurisdictional limits of this Court:

                a.        Medical treatment paid or incurred in the past;

                b.        Medical treatment which will be necessary in the future;

                c.        Past and future pain and suffering;

                d.        Past and future mental anguish;

                e.        Physical disfigurement;

                f.        Past and future impairment;

                g.        Lost wages; and

                h.        Loss of past and future earning capacity;

        20. Pursuant to TEX. R. CIV. P. 47, Plaintiff seeks monetary relief over $250,000 but

not more than $1,000,000. Plaintiff’s counsel offers this statement for informational purposes

only as required by TEX. R. CIV. P. 47 and reserves the right to change or amend it as the

evidence deems necessary. The amount of monetary relief actually awarded, however, will

ultimately be determined by a jury. Plaintiff also seeks prejudgment and post-judgment interest

at the highest legal rate.

                             VII.       PRESERVATION OF EVIDENCE

        21. Plaintiff hereby requests and demands that Defendant preserve and maintain all

evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit,

or the damages resulting therefrom, including photographs, videotapes, audiotapes, recordings,

business or medical records; bills; estimates; invoices; checks; measurements; correspondence;

__________________________________________________________
PLAINTIFF’S ORIGINAL PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 5 of 7
   Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                 Page 6 of 24 PageID 16



memoranda; files; any item which has been removed from the premises which was involved in

the incident; facsimile; email; voicemail; text messages; investigation; cellular telephone records;

calendar entries; and any electronic image, data, or information related to Plaintiff, the

referenced incident, or any damages resulting therefrom. Failure to maintain such items will

constitute a spoliation of the evidence.

                                  VIII.    RULE 193.7 NOTICE

        22. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives

actual notice to Defendant that any and all documents produced may be used against the

Defendant producing the document at any pretrial proceeding and/or at the trial of this matter

without the necessity of authenticating the documents.

                                            PRAYER

        WHEREFORE, Plaintiff prays that Defendant be cited according to law to appear and

answer herein, and that upon final trial, Plaintiff have judgment against Defendant as follows:

            a. An award of actual damages;

            b. An award of pre-judgment interest;

            c. An award of post-judgment interest;

            d. And other relief the Court determines is just under the circumstances.




__________________________________________________________
PLAINTIFF’S ORIGINAL PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 6 of 7
   Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22          Page 7 of 24 PageID 17



                                        Respectfully submitted,



                                        ANDREW J. WOOLEY
                                        Texas Bar No. 24077780
                                        Email: awooley@wooleylaw.com
                                        THE LAW OFFICE OF ANDREW J. WOOLEY
                                        10440 N. Central Expressway, Suite 1290
                                        Dallas, Texas 75231
                                        Tel. (214) 699-6524
                                        Fax. (214) 853-5047
                                        Attorney for Plaintiff




__________________________________________________________
PLAINTIFF’S ORIGINAL PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 7 of 7
                                                                                Filed 2/10/2022 11:20 AM
  Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                Page 8 of 24 PageID   18 Melanie Reed
                                                                                                  District Clerk
                                                                                          Ellis County, Texas

                                          NO. 107690

 WILLIAM STAMPER,                                                  IN THE DISTRICT COURT
 Plaintiff,

 V.                                                                 40th JUDICIAL DISTRICT

 WAL-MART STORES TEXAS,LLC
 d/b/a WALMART SUPERCENTER
 #286,
 Defendant.                                                          ELLIS COUNTY,TEXAS

                          PLAINTIFF'S FIRST AMENDED PETITION

 TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Plaintiff William Stamper complaining of and about Defendant Wal-

 Mart Stores Texas, LLC d/b/a Walmart Supercenter #286 and for causes of action would show

 unto the Court the following:

                     I.           DISCOVERY CONTROL PLAN LEVEL

        1. Plaintiff pleads that discovery in this matter shall be conducted under level II

 discovery control plan pursuant to Texas Rules of Civil Procedure 190.3.

                                        PARTIES AND SERVICE

        2. Plaintiff William Stamper ("Plaintiff') is an individual who is a resident of Ellis

 County, Texas. The last three numbers of Plaintiff's driver's license and social security number

 are 607 and 531, respectively.

        3. Defendant Wal-Mart Stores Texas, LLC d/b/a Walmart Supercenter #286

("Defendant") is a foreign corporation which at all times conducted business in the State of

 Texas. Defendant's corporate headquarters are located at 702 SW 8th Street, Bentonville,

 Arkansas 72716-8611. This lawsuit arises out of Defendant's business done in this state.

Defendant may be served with process by serving its registered agent, C T Corporation System,
 Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                    Page 9 of 24 PageID 19



1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                           IlL         JURISDICTION AND VENUE

         4. This Court has subject matter jurisdiction over this lawsuit. Plaintiff's claims involve

Texas statutory and common law. The amount in controversy is within this Court's jurisdictional

limit.

         5. This Court has personal jurisdiction over the parties. All the parties are either

individuals or corporate residents of the State of Texas, have sufficient minimum contacts with

the State of Texas, and/or have purposefully availed themselves of the laws and markets of the

State of Texas so as to not offend traditional notions offair play and substantial justice.

         6. This Court is the proper venue to hear this lawsuit pursuant to Tex. Civ. Prac. &

Rem. Code §15.002(a)(1)-(3) because the events giving rise to this lawsuit occurred in Ellis

County, Texas.

                                        IV.         FACTS

         7. On or about March 3, 2020, Plaintiff was a'customer at Walmart Supercenter #286

located at 700 E. Emits Ave., Ennis, Texas 75118. At all times material hereto, Defendant is the

owners, possessors, operators, and/or managers of the premises located at 700 E. Ennis Ave.,

Ennis, Texas 75118.

         8. Plaintiff entered upon said premises as a customer. He entered on the said property

ofDefendant as a patron and at the invitation of Defendant. While on the premises, Plaintiff used

a scooter provided by Defendant. After shopping and checking out, Plaintiff attempted to exit the

store through the gates located at the entry/exit way. The gate closed on him pinning him inside.

As a direct and proximate result of the incident, Plaintiff suffered personal injuries and resulting

damages.


PLAINTIFF'S FIRST AMENDED PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 2 of 7
 Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                   Page 10 of 24 PageID 20



                                 V.         CAUSES OF ACTION

A.       NEGLIGENCE

         9. Plaintiff repleads the foregoing factual allegations as if here quoted verbatim and set

forth herein at length.

         10. Defendant owed duties of ordinary care to Plaintiff and other customers. The conduct

of Defendant's agent, servant, and/or employee as outlined above breached those duties through

various acts and/or omissions, including the following, each of which singularly or in

combination with others, constitute acts of negligence that were a direct and proximate cause of

the occurrence in question and the resulting injuries or damages set forth herein:

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            b. failing to adequately warn of hazards; and

            c. other acts of negligence and negligence per se.

         1 1. As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

suffered personal injuries and resulting damages in an amount to be determined at trial.

B.       PREMISE LIABILITY

         12. Plaintiff repleads the foregoing factual allegations as if here quoted verbatim and set

forth herein at length

         13. Defendant owed a duty to Plaintiff to exercise ordinary care in its ownership,

possession, control, maintenance, operation, inspection, and use of Defendant's premises to

reduce or eliminate the unreasonable risk of harm created by a condition of the Defendant's

premises which Defendant knew about or in the exercise of ordinary care should have known

about.

         14. Defendant owed a duty to inspect and repair any defects and a duty to repair the


PLAINTIFF'S FIRST AMENDED PETITION
Stamper v. Wal-Mart Stores Texas, LLC
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 Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                  Page 11 of 24 PageID 21



defects adequately and competently.

        15. Defendant, acting through its agents, servants and/or employees, failed to use that

degree of care which an owner or occupier of ordinary pnidence would have used under the same

or similar circumstances in the following particulars:

            a. failing to properly inspect the premises for defects;

            b. failing to properly maintain the property and structures thereupon;

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suffered personal injuries and resulting damages in an amount to be determined at trial.

C.      RESPONDEAT SUPERIOR

        17. Plaintiff repleads the foregoing factual allegations as if herein quoted verbatim and

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        18. Under the doctrine of Respondeat Superior, Defendant is vicariously liable for the

negligence as alleged above by any agent, servant, and/or employee while acting within the

scope of employment which caused Plaintiffs damages. Defendant is also vicariously liable for

the negligence   as   alleged above by any agent, servant, and/or employee while acting in the

furtherance of a mission for the benefit of Defendant and subject to control by Defendant as to

the details of the mission.




PLAINTIFF'S FIRST AMENDED PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 4 of 7
 Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                    Page 12 of 24 PageID 22



                                      VI.          DAMAGES

        19. As a direct and proximate result of the incident making the basis of this lawsuit,

Plaintiff suffered and will in all reasonable probability continue to suffer the following actual

damages, the dollar value of which exceeds the minimaljurisdictional limits of this Court:

                a.       Medical treatment paid or incurred in the past;

                b.       Medical treatment which will be necessary in the future;

                c.       Past and future pain and suffering;

                d.       Past and future mental anguish;

                e.       Physical disfigurement;

                f.       Past and future impairment;

                g.       Lost wages; and

                h.       Loss of past and future earning capacity;

        20. Pursuant to TEX. R. CIV. P. 47, Plaintiff seeks monetary relief over $250,000 but

not more than $1,000,000. Plaintiff's counsel offers this statement for informational purposes

only as required by TEX. R. CIV. P. 47 and reserves the right to change or amend it as the

evidence deems necessary. The amount of monetary relief actually awarded, however, will

ultimately be determined by a jury. Plaintiff also seeks prejudgment and post-judgment interest

at the highest legal rate.

                             VII.    PRESERVATION OF EVIDENCE

       21. Plaintiff hereby requests and demands that Defendant preserve and maintain all

evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit,

or the damages resulting therefrom, including photographs, videotapes, audiotapes, recordings,

business or medical records; bills; estimates; invoices; checks; measurements; correspondence;


PLAINTIFF'S FIRST AMENDED PETITION
Stamper v. Wal-Mart Stores Texas, LLC
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memoranda; files; any item which has been removed from the premises which was involved in

the incident; facsimile; email; voicemail; text messages; investigation; cellular telephone records;

calendar entries; and any electronic image, data, or information related to Plaintiff, the

referenced incident, or any damages resulting therefrom. Failure to maintain such items will

constitute a spoliation of the evidence.

                                VIII.      RULE 193.7 NOTICE

       22. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives

actual notice to Defendant that any and all documents produced may be used against the

Defendant producing the document at any pretrial proceeding and/or at the trial of this matter

without the necessity of authenticating the documents.

                                            PRAYER

       WHEREFORE, Plaintiff prays that Defendant be cited according to law to appear and

answer herein, and that upon final trial, Plaintiff have judgment against Defendant as follows:

           a. An award of actual damages;

           b. An award of pre-judgment interest;

           c. An award of post-judgment interest;

           d. And other relief the Court determines is just under the circumstances.




PLAINTIFF'S FIRST AMENDED PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 6 of 7
 Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22           Page 14 of 24 PageID 24



                                        Resp ctfully submitted,



                                        ANDREW J. WLEY
                                        Texas Bar No. 2 77780
                                        Email: awooley@wooleylaw.com
                                        THE LAW OFFICE OF ANDREW J. WOOLEY
                                        10440 N. Central Expressway, Suite 1290
                                        Dallas, Texas 75231
                                        Tel.(214)699-6524
                                        Fax.(214)853-5047
                                        Attorney for Plaintiff




PLAINTIFF'S FIRST AMENDED PETITION
Stamper v. Wal-Mart Stores Texas, LLC
Page 7 of?
Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                                                      Page 15 of 24 PageID 25
                                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     02/25/2022
                                                                                                     CT Log Number 541121909
 TO:         KIM LUNDY- EMAIL
             Walmart Inc.
             GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
             BENTONVILLE, AR 72712-3148

 RE:         Process Served in Texas

 FOR:        Wal-Mart Stores Texas, LLC (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                                  Re: STAMPER WILLIAM // To: Wal-Mart Stores Texas, LLC
 DOCUMENT(S) SERVED:                               Citation, Return, First Amended Petition
 COURT/AGENCY:                                     40th Judicial District Court Ellis County, TX
                                                   Case # 107690
 NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 03/03/2020 -
                                                   Walmart Supercenter #286 - 700 E. Emits Ave., Ennis, Texas 75118
 ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
 DATE AND HOUR OF SERVICE:                         By Process Server on 02/25/2022 at 03:11
 JURISDICTION SERVED :                             Texas
 APPEARANCE OR ANSWER DUE:                         By 10:00 a.m. on the Monday next following the expiration of 20 days after service
 ATTORNEY(S) / SENDER(S):                          Andrew J. Wooley
                                                   The Law Office of Andrew J. Wooley
                                                   10440 N. Central Expressway, Suite 1290
                                                   Dallas, TX 75231
                                                   214-699-6524
 ACTION ITEMS:                                     CT has retained the current log, Retain Date: 02/26/2022, Expected Purge Date:
                                                   03/03/2022

                                                   Image SOP

 REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                   1999 Bryan Street
                                                   Suite 900
                                                   Dallas, TX 75201
                                                   877-564-7529
                                                   MajorAccountTeam2@wolterskluwer.com
 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
 relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
 advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein.




                                                                                                     Page 1 of 1 / DP
          Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22   Page 16 of 24 PageID 26

                                                                      Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Fri, Feb 25, 2022

Server Name:                  Ricky Randall




Entity Served                 WAL-MART STORES TEXAS, LLC

Case Number                   107690

J urisdiction                 TX




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                                                                                                                                   -.


                Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                             Page 17 of 24 PageID 27
                                         THE STATE OF TEXAS
                                          COUNTY OF ELLIS
                                                            CAUSE NO: 107690                                                                  ii
                                                                                                                                              •
                                                                CITATION
                                                                                                                                              ••

 i TO:      WAL-MART STORES TEXAS,LLC D/B/A WALMART SUPERCENTER #286
            REG. AGENT: CT CORPORATION SYSTEM
                                                                                                                                              1;
            1999 BRYAN ST,STE 900                                                                                                              •

            DALLAS,TX 75201

     DEFENDANT, in the hereinafter styled and numbered cause: 107690

   You are hereby commanded to appear before 40TH JUDICIAL DISTRICT COURT of ELLIS COUNTY, TEXAS to be held at thillj
   courthouse of said county in the City of Waxahachie, County of Ellis County, Texas, by filing a written answer to the PLAINTIFF'SA
 i FIRST AMENDED PETITION at or before 10:00 A.M. of the Monday next after the expiration of 20 days after the date of servicel:
 - hereof, a copy of which accompanies this citation, in cause number 107690 styled

                                                         STAMPER,WILLIAM
                                                                 -VS-
                                                   WAL-MART STORES TEXAS,LLC D/B/A
                                                      WALMART SUPERCENTER #286

(Filed in said court on the 02/08/2022

     The name and address ofthe attorney for PLAINTIFF, or the address of the PLAINTIFF is: ANDREW J WOOLEY , 10440 N.
     CENTRAL EXPY,STE 1290, DALLAS,TX 75231.

     NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorneys do not file a written
     answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following thc expiration of20 days after you wet e
     served this citation and petition, a Default Judgment may be taken against you. In addition to filing a written answcr with thc clerk,
     you may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
     than 30 days after you file your answer with the clerk. Find out more at TEXASLAWHELP.ORG."

     WITNESS: Melanie Reed, District Clerk ofthe District Court of Ellis County, Texas.


 4 ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT AT COUNTY OF ELLIS, TEXAS,ON THIS THE

 t 18th day of February, 2022.
                                                                           Melanie Reed,District Clerk
                                                                           109 S. Jackson Street Rm.209
                                                                           Waxaha ie, TX 7 65
                                            SEAL
                                                                        By
                                                                             Ma          •eputy


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             Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                                       Page 18 of 24 PageID 28
                                                  SERVICE RETURN - CAUSE # 107690

 STAMPER, WILLIAM                                                             IN THE 40TH JUDICIAL DISTRICT COURT
   -VS-                                                                                                        OF
 WAL-MART STORES TEXAS,LLC D/B/A                                                              ELLIS COUNTY,TEXAS
 WALMART SUPERCENTER #286

 NAME AND ADDRESS FOR SERVICE:
 WAL-MART STORES TEXAS,LLC D/B/A
 REG. AGENT:CT CORPORATION SYSTEM
 1999 BRYAN ST,STE 900
 DALLAS,TX 75201
 Came to hand on the         day of                            ,20      ,at                ,o'clock       .m., and executed in
                               County, Texas by delivering to the within named defendants, in person, a true copy of this Citation with
 the date of delivery endorsed thereon. together with the accompanying copy of the PLAINTIFF'S FIRST AMENDED PETITION ,at
 the following times and places, to-wit:
 Name                                          Date/Time                  Place, Course and Distance from Courthouse



 And not executed as to the defendant(s),

 The cause or failure to execute this process and the diligence used in finding said defendant(s) being:


 and the information received as to the whereabouts of said defendant(s) being:


 FEES:                                                                                                ,Sheriff, Constable, or Court Clerk ONLY
 Serving Petition and Copy $                                                                           (All others below)
 Total                                                                                                    County, Texas
                                                             By:                                     , Deputy


                                                             Affiant

 COMPLETE AND SIGN IF YOU ARE A PERSON OTHER THAN A SHERIFF,CONSTABLE,OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The return must
 either be verified or be signed under penalty of perjury. A return signed under penalty of perjury must contain the statement below in substantially
 the following form:

"My name is                                                            ,my date of birth is                      ,and my address is
               (First, Middle, Last)

(Street, City, Zip)

 I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
 Executed in             County, State of  on the       day of


                                                             Declarant/Authorized Process Server

                                                            (Id # & expiration of certification)



   RETURN TO:                                                          STATE OF TEXAS        §
   Melanie Reed Ellis County District Clerk                            COUNTY OF ELLIS        §
    109 S. Jackson Street Rm.209                                       SIGNED under oath before me on this                day of
   Waxahachie, TX 75165
                                                                                              ,20     .

                                                                                                                  Notary Public, State of Texas
                                                           107690                                        Filed 2/28/2022 12:26 PM
      Case 3:22-cv-00679-M Document
                                 Ellis1-3
                                       CountyFiled
                                              - District03/23/22
                                                         Clerk                     Page 19 of 24 PageID 29 Melanie Reed
                                                                                                                       District Clerk
                                                                                                                Ellis County, Texas
                                                 CAUSE NO. 107690

WILLIAM STAMPER                                             §                                             IN THE COURT OF
                                                            §
                         Plaintiff,                         §
VS.                                                         §                                        ELLIS COUNTY, TEXAS
                                                            §
WAL-MART STORES TEXAS, LLC D/B/A WALMART                    §
SUPERCENTER # 286
                  Defendant.                                §                             IN THE 40TH JUDICIAL DISTRICT


                                               AFFIDAVIT OF SERVICE

"The following came to hand on Feb 18, 2022, 1:04 pm,

                                      CITATION, PLAINTIFF'S FIRST AMENDED PETITION,

and was executed at 1999 Bryan St 900, Dallas, TX 75201 within the county of DALLAS at 02:03 PM on Fri, Feb 25 2022,
by delivering a true copy to the within named

         WAL-MART STORES TEXAS, LLC D/B/A WALMART SUPERCENTER # 286 REG AGENT CT CORP SYSTEM

in person, having first endorsed the date of delivery on same.
SERVICE WAS RECEIVED BY CT CORP SYSTEMS INTAKE SPECIALIST KIRK ATKINS

I am a person over eighteen (18) years of age and I am competent to make this affidavit. I am a resident of the State of
Texas. I am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. I am not a party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit. I have never been convicted
of a felony or of a misdemeanor involving moral turpitude. I have personal knowledge of the facts stated herein and they
are true and correct."

My name is Ricky E. Randall, my date of birth is 07/18/1954, and my address is P O Box 360463, Dallas, TX 75336, and
United States of America. I declare under penalty of perjury that the foregoing is true and correct.

Executed in DALLAS County, State of TX, on February 25, 2022.




                                                                Ricky E. Randall
                                                                Certification Number: PSC 10253
                                                                Certification Expiration: 04/30/23
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                                                                                          Filed 3/21/2022 9:03 AM
  Case 3:22-cv-00679-M Document 1-3 Filed 03/23/22                   Page 22 of 24 PageID 32 Melanie Reed
                                                                                                       District Clerk
                                                                                                Ellis County, Texas

                                         CAUSE NO. 107690

 WILLIAM STAMPER                                      §          IN THE DISTRICT COURT
                                                      §
                                                      §
 VS.                                                  §          ELLIS COUNTY, TEXAS
                                                      §
 WAL-MART STORES TEXAS, LLC                           §
 d/b/a WALMART SUPERCENTER #286                       §          40TH JUDICIAL DISTRICT

                            DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Wal-Mart Stores Texas, LLC d/b/a Walmart Supercenter #286

(incorrectly sued, proper entity is Wal-Mart Stores Texas, LLC), Defendant in the above-entitled

and numbered cause, and files its Original Answer to Plaintiff’s First Amended Petition, and would

respectfully show the Court as follows:

                                        I. GENERAL DENIAL

         Defendant generally denies the allegations contained in Plaintiff’s First Amended Petition,

demands strict proof thereof, and says this is a matter for jury decision.

                                       II. RULE 193.7 NOTICE

         Pursuant to TEXAS RULES OF CIVIL PROCEDURE 193.7, Defendant provides notice that it

intends to use Plaintiff’s production of all documents, tangible things and discovery items

produced in response to discovery in any pre-trial proceeding or at trial.

                                          III. JURY DEMAND

         Defendant further demands a trial by jury.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays that upon final hearing

hereof, Plaintiff take nothing by this suit, that Defendant recover its costs, and that Defendant have

such other and further relief, both at law and in equity, to which it may be justly entitled.




DEFENDANT’S ORIGINAL ANSWER                                                                     PAGE 1
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                                                 Respectfully submitted,

                                                 COBB MARTINEZ WOODWARD PLLC
                                                 1700 Pacific Avenue, Suite 3100
                                                 Dallas, TX 75201
                                                 (214) 220-5210 (phone)
                                                 (214) 220-5299 (fax)


                                                 By:         /s/ Stacy Hoffman Bruce
                                                        STACY HOFFMAN BRUCE
                                                        Texas Bar No. 24036793
                                                        sbruce@cobbmartinez.com

                                                 ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

        I certify a true and correct copy of this document has been forwarded to counsel for Plaintiff
either by e-service, telefax, electronic mail, and/or regular U.S. mail on this 21st day of March,
2022:

         Andrew J. Wooley
         The Law Office of Andrew J. Wooley
         10440 N. Central Expressway, Suite 1290
         Dallas, TX 75231
         214.699.6524 / fax 214.853.5047
         awooley@wooleylaw.com

                                                    /s/ Stacy Hoffman Bruce
                                                 STACY HOFFMAN BRUCE




DEFENDANT’S ORIGINAL ANSWER                                                                    PAGE 2
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This automated certificate of service was created by the efiling system.
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Sandi Mallon on behalf of Stacy Bruce
Bar No. 24036793
smallon@cobbmartinez.com
Envelope ID: 62772007
Status as of 3/21/2022 9:06 AM CST

Case Contacts

Name            BarNumber Email                        TimestampSubmitted Status

Andrew Wooley   24077780   awooley@wooleylaw.com       3/21/2022 9:03:40 AM   SENT

Missy Ramirez              mramirez@cobbmartinez.com   3/21/2022 9:03:40 AM   SENT

Sandi Mallon               smallon@cobbmartinez.com    3/21/2022 9:03:40 AM   SENT

Stacy H.Bruce              sbruce@cobbmartinez.com     3/21/2022 9:03:40 AM   SENT
